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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:01CR101
                              )
          v.                  )
                              )
RICHARD D. AVILA II,          )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion of

Julianne Dunn Herzog to remove the file and transcripts in this

case (Filing No. 509).      The Court finds said motion should be

granted.   Accordingly,

           IT IS ORDERED that said motion is granted; Julianne

Dunn Herzog shall be permitted to remove from the clerk’s office

the file and transcripts in this case.

           DATED this 10th day of June, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
